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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

                                  *
                                  *                      CIVIL ACTION
BILAL HANKINS                     *
                                  *                      NO. 21-1129
                      Plaintiff,  *
                                  *                      JUDGE ELDON E. FALLON
     VERSUS
                                  *
                                                         MAGISTRATE JUDGE
                                  *
                                                         JANIS VAN MEERVELD
KEVIN WHEELER, ET AL.             *
                                  *
                      Defendants. *
**************************** *

    LIST OF MATERIAL FACTS NOT GENUINELY DISPUTED IN SUPPORT OF
    INDIVIDUAL HANO DEFENDANTS' MOTION FOR SUMMARY JUDGMENT

               Defendants Tyrone Martin, Demetrius Jackson, Tommy Mercadal, and Leontine

Mullins (collectively "HANO Officers") submit the following list of material facts not genuinely

disputed in support of their Motion for Summary Judgment on the Basis of Qualified Immunity:

               1.     On the night of June 13, 2020, at approximately 11:30 p.m., Plaintiff and

two companions were driving on Camp Street, New Orleans, Louisiana in a black BMW 1

               2.     Plaintiff asserts that his acquaintance had lost her dog that day and that he

and the two companions were assisting in the search for the dog.2

               3.     Plaintiff and a twelve-year-old male road as passengers in a vehicle driven

by Tahj Pierre.3




1
       Exhibit A, First Amended Complaint at ¶ 38
2
       Exhibit B, Deposition of Bilal Hankins at 22:8-24:24.
3
       Exhibit B, Deposition of Bilal Hankins at 24:15-24.



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                4.      On June 13, 2020, Officers Kevin Wheeler and Ramon Pierre were working

private, paid details for Hurstville Security District.4

                5.      Plaintiff was sitting in the back seat of the vehicle on the driver side.5

                6.      The vehicle Plaintiff occupied was registered to Tahj Pierre's mother, at an

address located in New Orleans East, where Tahj Pierre lived.6

                7.      Tahj Pierre was the driver of the vehicle on June 13, 2020.7

                8.      During the course of the evening, Officer Kevin Wheeler came into contact

with Plaintiff and the other occupants of the vehicle. During that encounter, Plaintiff informed

Officer Wheeler that the occupants of the vehicle were looking for a lost dog.8

                9.      Officer Wheeler has stated that he was suspicious of Plaintiff's story and

that he was concerned that the occupants of the vehicle may be attempting to burglarize other

vehicles based on the car driving slowly and the positions of the occupants in the vehicles leaning

out the windows. Officer Wheeler ran the license plate on the vehicle as a result.9

                10.     Officer Wheeler called Officer Ramon Pierre to inform him about his

suspicions and inform him of the car's registration address. Based on the information Officer


4
        Exhibit A, First Amended Complaint at ¶¶ 41, 45; Exhibit C, Deposition of Kevin Wheeler at
        29:9-13, 45:11-20; Exhibit D, Deposition of Ramon Pierre at 35:8-21.
5
        Exhibit A, First Amended Complaint at ¶ 38; Exhibit B, Deposition of Bilal Hankins at 36:18-
        22.
6
        Exhibit A, First Amended Complaint at ¶ 62; Deposition of Bilal Hankins at 52:25-53:5.
7
        Exhibit A, First Amended Complaint at ¶ 38; Exhibit B, Deposition of Bilal Hankins at 36:18-
        22.
8
        Exhibit A, First Amended Complaint at ¶¶ 39, 42, 43; Exhibit C, Deposition of Kevin Wheeler
        at 49:17-51:7.
9
        Exhibit A, First Amended Complaint at ¶ 46; see Exhibit C, Deposition of Kevin Wheeler at
        49:2-16, 51:20-52:12; see also Exhibit D, Deposition of Ramon Pierre at 71:11-22.

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Wheeler shared, Officer Pierre realized that the car was registered to an address in New Orleans

East.10

                 11.     Officer Pierre activated his blue lights.11

                 12.     After Officer Pierre activated his blue lights, Tahj Pierre continued to drive

the vehicle for approximately one block before bringing the vehicle to a complete stop.12

                 13.     Officer Wheeler and Officer Pierre conducted a stop of the vehicle driven

by Tahj Pierre.13

                 14.     Tahj Pierre, the driver, was asked to step out of the vehicle.14

                 15.     None of the occupants of the vehicle, other than Mr. Pierre, exited the

vehicle during the course of the investigatory stop.15

                 16.     Mr. Pierre provided Officer Wheeler with his identification.16




10
          Exhibit C, Deposition of Kevin Wheeler at 52:5-53:3, 53:14-19, 62:15-19, 63:4-19; Exhibit D,
          Deposition of Ramon Pierre at 69:10-71:22; see also Exhibit A, First Amended Complaint at
          ¶ 46.
11
          Exhibit A, First Amended Complaint at ¶ 54; Exhibit C, Deposition of Kevin Wheeler at 70:2-
          7.
12
          Exhibit A, First Amended Complaint at ¶ 54; Exhibit C, Deposition of Kevin Wheeler at 70:19-
          71:11.
13
          Exhibit A, First Amended Complaint at ¶¶ 55-56.
14
          Exhibit A, First Amended Complaint at ¶ 55; Exhibit B, Deposition of Bilal Hankins at 66:15-
          20; Exhibit C, Deposition of Kevin Wheeler at 72:23-25; Exhibit D, Deposition of Ramon
          Pierre at 84:12-16.
15
          Exhibit B, Deposition of Bilal Hankins at 64:1-5, 71:22-72:7.
16
          Exhibit A, First Amended Complaint at ¶ 62; Exhibit B, Deposition of Bilal Hankins at 67:19-
          20, 68:8-19; Exhibit C, Deposition of Kevin Wheeler at 96:6-9; Exhibit D, Deposition of
          Ramon Pierre at 115:20-25.

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               17.     After Mr. Pierre's identity was verified and Officer Wheeler took notes

regarding the lost dog, Plaintiff, Mr. Pierre, and the other occupant of the vehicle were permitted

to leave.17

               18.     At no time during the interaction was Plaintiff ordered to get out of the

vehicle.18

               19.     At no time during the interaction did Officer Pierre verbally threaten that he

was going to shoot Plaintiff or any other occupant of the vehicle.19

               20.     At no time during the interaction was Plaintiff fired upon.20

               21.     At no time during the interaction did Officer Wheeler or Officer Pierre lay

hands on or handcuff Plaintiff.21

               22.     Following the stop, Officer Wheeler contacted Orleans Levee District

Police to inform them of the investigatory stop.22

               23.     Both Officer Wheeler and Officer Pierre recorded the stop on their

Hurstville time cards.23




17
        Exhibit A, First Amended Complaint at ¶¶ 62, 63; Exhibit B, Deposition of Bilal Hankins at
        75:21-78:24; Exhibit C, Deposition of Kevin Wheeler at 84:20-85:19; see also Exhibit D,
        Deposition of Ramon Pierre at 116:1-21.
18
        Exhibit B, Deposition of Bilal Hankins at 77:5-7.
19
        See generally Exhibit A, First Amended Complaint.
20
        See generally Exhibit A, First Amended Complaint.
21
        See generally Exhibit A, First Amended Complaint; Exhibit B, Deposition of Bilal Hankins at
        77:15-19, 78:7-17.
22
        Exhibit C, Deposition of Kevin Wheeler at 88:22-25, 89:17-90:3.
23
        See Exhibits E-1 and E2, GPS records.

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               24.     Per GPS records maintained on both Officer Wheeler and Officer Pierre's

vehicles, the alleged interaction lasted no more than 5 minutes.24

               25.     GPS records provided by Hurstville to Orleans Levee District during the

course of its investigation indicate that Officer Wheeler's vehicle was stopped a total of 3 minutes

and 48 seconds during the incident in question.25

               26.     GPS records provided by Hurstville to Orleans Levee District during the

course of its investigation indicate that Officer Pierre's vehicle was stopped a total of 4 minutes

and 27 seconds during the incident in question.26

               27.     Lieutenant Tyrone Martin was not present at the scene of the stop described

in Plaintiff's Amended Complaint on the night of June 13, 2020.27

               28.     Sergeant Demetrius Jackson was not present at the scene of the stop

described in Plaintiff's First Amended Complaint on the night of June 13, 2020.28

               29.     Sergeant Tommy Mercadal was not present at the scene of the stop

described in Plaintiff's Amended Complaint on the night of June 13, 2020.29




24
       Ehibitis E-1 and E-2, GPS records; see also Exhibit D, Deposition of Ramon Pierre at 94:4-9.
25
       Exhibit F, Declaration of Vance Bieniemy, Jr. at ¶ 9; F-1 (Investigative Review) at Exhibit L.
       (HANKINS-SLFPA-E-00359-361).
26
       Exhibit F, Declaration of Vance Bieniemy, Jr. at ¶ 9; Exhibit F-1 (Investigative Review) at
       Exhibit M (HANKINS-SLFPA-E-00364-366).
27
       Exhibit B, Deposition of Bilal Hankins at 98:11-12; Exhibit G, Declaration of Tyrone Martin
       at ¶ 17.
28
       Exhibit B, Deposition of Bilal Hankins at 98:2-6; Exhibit H, Declaration of Demetrius Jackson
       at ¶ 12.
29
       Exhibit B, Deposition of Bilal Hankins at 98:7-8; Exhibit I, Declaration of Tommy Mercadal
       at ¶ 13.

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               30.     Sergeant Mullins was not present at the scene of the stop described in

Plaintiff's Amended Complaint on the night of June 13, 2020.30

               31.     In Lieutenant Martin's role as Operations Commander of the HANO police

department, he acts as a supervisor of Officer Pierre.31

               32.     In Sergeant Jackson's role as a sergeant, he has general supervisory

responsibility over HANO officers, including Officer Pierre.32

               33.     In Sergeant Mercadal's role as a sergeant, he has general supervisory

responsibilities over HANO officers, including Officer Pierre.33

               34.     Sergeant Mercadal has no role in the implementation or administration of

HANO's paid detail program.34

               35.     In Sergeant Mullins' role as a sergeant, she has general supervisory

responsibilities over HANO officers, including Officer Pierre.35

               36.     Sergeant Mullins has no role in the implementation or administration of

HANO's paid detail program.36

               37.     In June 2020, Sergeant Jackson performed an investigation into the

complaint made by Plaintiff in connection with a stop that was alleged to have occurred on June


30
       Exhibit B, Deposition of Bilal Hankins at 98:13-14; Exhibit J, Declaration of Leontine Mullins
       at ¶ 14.
31
       Exhibit G, Declaration of Tyrone Martin at ¶¶ 4, 8.
32
       Exhibit H, Declaration of Demetrius Jackson at ¶ 7.
33
       Exhibit I, Declaration of Tommy Mercadal at ¶ 7.
34
       Exhibit I, Declaration of Tommy Mercadal at ¶ 8.
35
       Exhibit J, Declaration of Leontine Mullins at ¶ 7.
36
       Exhibit J, Declaration of Leontine Mullins at ¶ 9.

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13, 2020, performed by Officer Kevin Wheeler and Officer Pierre during an off-duty, paid detail

for the Hurstville Security District.37

                38.     Other than the complaint made by Plaintiff, HANO has not received a

complaint from any citizen regarding a HANO police officer's conduct while working a private

paid detail for Hurstville Security District.38

                39.     Lieutenant Martin had no knowledge of complaints made regarding any

alleged use of excessive force by Officer Pierre prior to June 13, 2020.39

                40.     Sergeant Jackson had no knowledge of complaints made regarding any

alleged use of excessive force by Officer Pierre prior to June 13, 2020.40

                41.     Sergeant Mercadal had no knowledge of complaints made regarding any

alleged use of excessive force by Officer Pierre prior to June 13, 2020.41

                42.     Sergeant Mullins had no knowledge of complaints made regarding any

alleged use of excessive force by Officer Pierre prior to June 13, 2020.42

                43.     Lieutenant Martin had no knowledge of complaints made regarding any

alleged improper stops by Officer Pierre prior to June 13, 2020.43




37
        Exhibit H, Declaration of Demetrius Jackson at ¶ 11.
38
        Exhibit G, Declaration of Tyrone Martin at ¶ 11.
39
        Exhibit G, Declaration of Tyrone Martin at ¶ 23.
40
        Exhibit H, Declaration of Demetrius Jackson at ¶ 22.
41
        Exhibit I, Declaration of Tommy Mercadal at ¶ 14.
42
        Exhibit J, Declaration of Leontine Mullins at ¶ 15.
43
        Exhibit G, Declaration of Tyrone Martin at ¶ 23.

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               44.    Sergeant Jackson had no knowledge of complaints made regarding any

alleged improper stops by Officer Pierre prior to June 13, 2020.44

               45.    Sergeant Mercadal had no knowledge of complaints made regarding any

alleged improper stops by Officer Pierre prior to June 13, 2020.45

               46.    Sergeant Mullins had no knowledge of complaints made regarding any

alleged improper stops by Officer Pierre prior to June 13, 2020.46

               47.    Lieutenant Martin had no knowledge of complaints made regarding any

alleged unreasonable searches by Officer Pierre prior to June 13, 2020.47

               48.    Sergeant Jackson had no knowledge of complaints made regarding any

alleged unreasonable searches by Officer Pierre prior to June 13, 2020.48

               49.    Sergeant Mercadal had no knowledge of complaints made regarding any

alleged unreasonable searches by Officer Pierre prior to June 13, 2020.49

               50.    Sergeant Mullins had no knowledge of complaints made regarding any

alleged unreasonable searches by Officer Pierre prior to June 13, 2020.50




44
       Exhibit H, Declaration of Demetrius Jackson at ¶ 22.
45
       Exhibit I, Declaration of Tommy Mercadal at ¶ 14.
46
       Exhibit J, Declaration of Leontine Mullins at ¶ 15.
47
       Exhibit G, Declaration of Tyrone Martin at ¶ 23
48
       Exhibit H, Declaration of Demetrius Jackson at ¶ 22.
49
       Exhibit I, Declaration of Tommy Mercadal at ¶ 14.
50
       Exhibit J, Declaration of Leontine Mullins at ¶ 15.

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               51.     Officer Pierre has not received any other complaints regarding his conduct

during a stop while working for Hurstville.51

               52.     Officer Pierre is POST certified.52

               53.     Officer Pierre has met his annual training requirements every year while

working as a HANO police officer.53

               54.     Officer Pierre's annual training has included courses on use of force, search

and seizure, firearms, and officer safety, which includes training on traffic stops, and racial

profiling.54

               55.     In the course of his investigation, Sergeant Jackson reviewed written

complaint statements provided by Plaintiff and Tahj Pierre; review an email complaint from Lona

Edward Hankins, conduct telephone interviews Plaintiff and Tahj Pierre; canvassed the area where

the stop occurred; interviewed eye witness Tyler Higgins; took the statement of Lattrell Miller;

reviewed the statement of Officer Pierre; and asked Officer Pierre additional questions.55

               56.     During the course of the investigation, Officer Pierre was not permitted to

work private security detail.56



51
        Exhibit D, Deposition of Ramon Pierre at 66:24-67:3.
52
        See Exhibit G, Declaration of Tyrone Martin at ¶ 14; Exhibit G-1, Officer Pierre's POST
        certificate.
53
        Exhibit G, Declaration of Tyrone Martin at ¶ 15; Exhibit D, Deposition of Ramon Pierre at
        117:6-118:7.
54
        Exhibit G, Declaration of Tyrone Martin at ¶ 16; Exhibit G-2, Ramon Pierre's annual training
        records.
55
        Exhibit H, Declaration of Demetrius Jackson at ¶ 13; Exhibit H-1 June 25, 2020 Memorandum
        and Exhibits.
56
        Exhibit D, Deposition of Ramon Pierre at 30:20-31:3.

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               57.     Sergeant Jackson concluded Plaintiff's complaint to HANO was non-

sustained. Based on the investigation, the statements made by the witness, the conflicting

statements made by the complainants, and his canvassing of the neighborhood, Sergeant Jackson

concluded there was no evidence to support misconduct or departmental policy violations by

Officer Pierre.57

Dated: March 7, 2023                        Respectfully submitted,

                                            /s/Maggie A. Broussard
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                                            Jackson, Tommy Mercadal, and Leontine Mullins




57
       Exhibit H, Declaration of Demetrius Jackson at ¶ 18; Exhibit H-1, June 25, 2020 Memorandum
       at p. 6.

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